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 8                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 9                                     OAKLAND DIVISION

10 ELON MUSK et al.,                                Case No. 4:24-cv-04722-YGR
11                Plaintiffs,                       Assigned to: Hon. Yvonne Gonzalez Rogers

12         v.                                       DECLARATION OF TODOR M.
                                                    MARKOV
13 SAMUEL ALTMAN, et al.,

14                Defendants.
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 1                                             DECLARATION

 2          I, Todor M. Markov, declare as follows:

 3          1.      Beginning in 2018, I worked as a researcher at OpenAI on a variety of teams,

 4 culminating in my assignment to the Preparedness team, where I worked on evaluating the

 5 persuasion abilities of frontier systems.

 6          2.      I am presently a researcher at Anthropic, where I work on the Knowledge team.

 7          3.      I have helped organize this amicus brief without any encouragement or input from

 8 my current employer.

 9          4.      I left OpenAI in 2024 because I lost trust in its leadership team.

10          5.      I lost trust because in May 2024, I learned that OpenAI was routinely requiring

11 departing employees to sign a general release including a broad lifetime non-disparagement

12 agreement as a precondition for keeping their vested equity. For many employees — myself included

13 — this equity represented a very large fraction of our overall life savings. This condition was

14 intentionally hidden from employees by being phrased in a highly obfuscated manner and by being

15 put in legal documents that we only saw and were asked to sign a few months after our initial joining

16 dates. At an all-hands meeting, CEO Sam Altman was asked directly whether he had known that

17 this was a standard practice for all departing employees. At that meeting, he disclaimed knowledge.

18 Immediately after that meeting, a media article was published showing official company documents

19 with Sam Altman’s signature on them which explicitly described the requirement to sign a general

20 release in order to retain one’s vested equity in great detail. This course of events led me to believe

21 that CEO Sam Altman was a person of low integrity who had directly lied to employees about the

22 extent of his knowledge and involvement in OpenAI’s practices of forcing departing employees to

23 sign lifetime non-disparagement agreements; and that he was very likely lying to employees about

24 a number of other important topics, including but not limited to the sincerity of OpenAI’s

25 commitment to the Charter — which had up to that point been considered binding and taken very

26 seriously internally by me and other OpenAI employees.

27          6.      The Charter was positioned as the foundational document guiding all of our strategic

28 decisions during my time at OpenAI. Senior leaders such as Sam Altman and Greg Brockman

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 1 regularly referenced the Charter to explain operational and organizational decisions or to address

 2 questions about how OpenAI was developing AGI.

 3           7.    In fact, there was a dedicated working group at OpenAI devoted to interpreting and

 4 applying the Charter in concrete terms. Employee understanding of the Charter was made part of

 5 our performance evaluations after the transition of OpenAI even to a capped for-profit structure.

 6 Employees at all levels were evaluated not just on their technical contributions but also on how well

 7 they aligned their work with the Charter’s principles and ensured their colleagues did the same.

 8           8.    As repeated by OpenAI executives both internally and externally, OpenAI’s

 9 nonprofit structure, and in particular the nonprofit’s control over all for-profit subsidiaries, was

10 generally considered essential to OpenAI upholding its Charter commitments.

11           9.    The Charter also played an important role in enhancing the organization’s brand

12 identity. Physical copies of the Charter were prominently displayed throughout the offices. It was

13 consistently visible in brochures, guest offerings, and new-hire packets.

14           10.   When OpenAI began to lose key staff in 2020, Sam Altman repeatedly turned to and

15 emphasized the importance of the Charter and OpenAI’s unique nonprofit control structure to retain

16 talent.

17           11.   Particularly after OpenAI’s capped-profit transition, nonprofit control and adherence

18 to the Charter were important for attracting talent—especially the gifted researchers concerned with

19 AI safety and the societal impacts of AI.

20           12.   The repeated representations by Sam Altman and other OpenAI executives

21 concerning OpenAI’s charitable mission and adherence to the Charter persuaded me to stay at

22 OpenAI longer than I otherwise would have.

23           13.   When I saw Sam Altman and other senior leaders directly lie to employees about the

24 company’s transparency practices, I realized that they had also lied to us about many other important

25 decisions and key elements of the company. I realized the Charter had been used as a smokescreen,

26 something to attract and retain idealistic talent while providing no real check on OpenAI’s growth

27 and its pursuit of AGI.

28           14.   OpenAI’s public announcement of a plan to pursue a fully for-profit restructuring,

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 1 contrary to its Charter’s core commitments, has only served to further convince me that OpenAI’s

 2 Charter and mission were used all along as a facade to manipulate its workforce and the public.

 3         15.     I declare under penalty of perjury of the laws of the United States that the foregoing

 4 is true and correct. Executed on April 11, 2025.

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                                             /s/ Todor M. Markov
 8                                           Todor M. Markov

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